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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

 CRYSTALLEX INTERNATIONAL                        )
 CORPORATION                                     )
                                                 )
        Plaintiff,                               )
                                                 )
        v.                                       ) C.A. No. 1:17-mc-00151-LPS
                                                 )
 BOLIVARIAN REPUBLIC OF VENEZUELA,               )
                                                 )
                                                 )
        Defendant.
                                                 )

 JOINDER OF THE BOLIVARIAN REPUBLIC OF VENEZUELA IN THE MOTION OF
      PDVSA, PDVH, AND CITGO TO DISQUALIFY THE SPECIAL MASTER

       The Bolivarian Republic of Venezuela, by and through its undersigned counsel, hereby

joins in PDVSA, PDVH, and CITGO’s Motion to Disqualify the Special Master, filed on January

20, 2023 (D.I. 509).

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